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                         Exhibit 3
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---------- Forwarded message ---------
From: Ron Anderton <simplecashflowsolutions@gmail.com>
Date: Fri, May 19, 2017 at 12:45 PM
Subject: Re: Loan
To: Randy Allmon <randy.allmon@gmail.com>


Revised

On Tue, May 16, 2017 at 6:35 PM, Ron Anderton <RonA@aspireleaseandfactor.com> wrote:
 Randy,

Here is the promissary note. Let me know if everything looks okay.



--



Ron Anderton
VP Finance

Aspire Lease and Factor LLC




tel. 949.478.2670

rona@aspireleaseandfactor.com

http://www.aspireleaseandfactor.com




                                                         1
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ACHTUNG!


Everyone thinks these email disclosures are lame, and sender is no exception. Somehow legal counsel always advises including a silly disclaimer, yet it is
questionable on whether doing so has ever helped anyone. To provide extra protection, this warning is extra silly. Regardless, please be aware that the
contents of this email (and any attachments) are private and are intended to stay private, and may contain confidential or privileged information. Sharing
private information wasn’t nice in kindergarten, and it is no better now that you are supposedly more mature. If you received this communication in error,
please promptly notify the sender then promptly delete the contents of the email.




The sender of this email engages in commercial lending services as provided by law. Clearly, sender is not engaged as your attorney, accountant, tax
advisor, investment adviser, broker, consumer banker, real estate agent, medical doctor, psychologist or lover. If you need to be told any of that, you have
no business engaging in sophisticated transactions for qualified individuals: go play Angry Birds instead. No solicitation or offer to sell/sale or offer to
buy/buy is made by herein. Written or verbal communication received from sender are intended for negotiation purposes only, may contain legal puffery,
and are not to be relied on unless contained in writing and within a formal contract properly identified as such. Upon receipt of this communication,
recipient acknowledges receipt and acceptance of this warning and disclaimer, blah blah blah. Recipient warrants they have been provided by Aspire Lease
and Factor LLC their statutory, case and common law declarations, which discuss worse case scenarios, etc.,
from: http://www.AspireLeaseandFactor.com/DlSCL0SURES2Ol62460laspire. Jurisdiction = UT. (c) 2016-2017. Sender is responsible only for his actions and
words; get it directly from the horse’s mouth. Be nice to your mother; she may be the only one that loves you. Feed the children. Please consider the
environment before printing this email, especially this lousy, verbose disclaimer. Now, be good and go have a nice day.




                                                                             2
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                    IDAHO PROMISSORY NOTE
                                     (SECURED)

ON THIS _19th_ DAY OF _May_, 2017, _Ron Anderton_, of _1356 Riley Dr, Payson,
UT 84651_ , hereinafter known as the “Borrower” promises to pay to _Randy Allmon_,
of _609 NW 82nd St, Seattle, WA 98117_, hereinafter known as the “Lender”, the
principal sum of _Seventy-Five Thousand_ Dollars ($_75,000.00_), with interest
accruing on the unpaid balance at a rate of _Twenty_ percent (20%) per annum (The
legal rate of interest in Idaho is 12% per year when the interest rate is not specified in
writing.)


   1. PAYMENTS: Borrower shall pay payment in full of principal and interest accrued
      and shall be payable on the due date.

   2. DUE DATE: The full balance on this Note, including any accrued interest and late
      fees, is due and payable on the _18th_ day of _November_, 2017.

   3. INTEREST DUE IN THE EVENT OF DEFAULT: In the event that the Borrower
      fails to pay the note in full on the due date or has failed to make an installment
      payment due within 60 days of the due date, unpaid principal shall accrue
      interest at the rate of twenty percent (20%) per annum OR the maximum rate
      allowed by law, whichever is less, until the Borrower is no longer in default.

   4. ALLOCATION OF PAYMENTS: Payments shall be first credited any late fees
      due, then to interest due and any remainder will be credited to principal.

   5. PREPAYMENT: Borrower may pre-pay this Note without penalty.

   6. LATE FEES: If the Lender receives payment more than 60 days after the date
      that it is due, then a late payment fee of $1,000.00, shall be payable with the
      scheduled payment along with any default interest due.

   7. DUE ON SALE: This Note is secured by a security instrument described in
      Section 17 securing repayment of this Note, the property described in such
      security instrument may be sold. Lender may declare all sums due under this
      Note immediately due and payable, unless prohibited by applicable law.

   8. ACCELERATION: If the Borrower is in default under this Note or is in default
      under the security instrument securing repayment of this Note, and such default
      is not cured within 60 days after written notice of such default, then Lender may,
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      at its option, declare all outstanding sums owed on this Note to be immediately
      due and payable, in addition to any other rights or remedies that Lender may
      have under the security instrument or state and federal law.

   9. ATTORNEYS’ FEES AND COSTS: Borrower shall pay all costs incurred by
      Lender in collecting sums due under this Note after a default, including
      reasonable attorneys’ fees. If Lender or Borrower sues to enforce this Note or
      obtain a declaration of its rights hereunder, the prevailing party in any such
      proceeding shall be entitled to recover its reasonable attorneys’ fees and costs
      incurred in the proceeding (including those incurred in any bankruptcy
      proceeding or appeal) from the non-prevailing party.

   10. WAIVER OF PRESENTMENTS: Borrower waives presentment for payment,
       notice of dishonor, protest and notice of protest.

   11. NON-WAIVER: No failure or delay by Lender in exercising Lender’s rights under
       this Note shall be considered a waiver of such rights.

   12. SEVERABILITY: In the event that any provision herein is determined to be void
       or unenforceable for any reason, such determination shall not affect the validity
       or enforceability of any other provision, all of which shall remain in full force and
       effect.

   13. INTEGRATION: There are no verbal or other agreements which modify or affect
       the terms of this Note. This Note may not be modified or amended except by
       written agreement signed by Borrower and Lender.

   14. CONFLICTING TERMS: In the event of any conflict between the terms of this
       Note and the terms of any security instrument securing payment of this Note, the
       terms of this Note shall prevail.

   15. NOTICE: Any notices required or permitted to be given hereunder shall be given
       in writing and shall be delivered (a) in person, (b) by certified mail, postage
       prepaid, return receipt requested, (c) by facsimile, or (d) by a commercial
       overnight courier that guarantees next day delivery and provides a receipt, and
       such notices shall be made to the parties at the addresses listed below.

   16. EXECUTION: The Borrower executes this Note as a principal and not as a
       surety. If there is more than one Borrower, each Borrower shall be jointly and
       severally liable under this Note.

   17. SECURITY: THIS NOTE IS SECURED BY THE FOLLOWING:

Property located at: 733 Barnwood Dr, Ammon, Idaho 83406______________________

                                   SIGNATURE AREA
                                                                                     Page 2 of 3
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This agreement was signed the _19th_ day of _May_, 2017 by the following:


_______________________                                 _______________________
Lender’s Signature                                      Borrower’s Signature


_Randy Allmon____________                               _Ron Anderton _______
Lender’s Printed Name                                   Borrower’s Printed Name


_______________________                                 _______________________
Witness’s Signature                                     Witness’s Signature


_Jordan Anderton________                               __Malinda Anderton_______
Witness’s Printed Name                                  Witness’s Printed Name




                                                                            Page 3 of 3
